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FILED

FEB 19 2003

CLERK, U.S. DISTRICT
een DISTRICT OF CALIFORNIA

PON

United States District Court

Bastern District of California

Michael Anthony, No. CIV S-02-0081 FCD PAN P
Petitioner, Order
vs.
Gail Lewis, Warden, et al.,
Respondents.
-o0o-

Petitioner is a state prisoner proceeding pro se and in
forma pauperis in an application for a writ of habeas corpus.
see 28 U.S.C. § 2254. On January 8, 2003, petitioner filed an
amended petition pursuant to court order.

A “judge entertaining an application for a writ of habeas
corpus shall forthwith award the writ or issue an order directing
the respondent to show cause why the writ should not be granted,
unless it appears from the application that the applicant or

person detained is not entitled thereto.” 28 U.S.C. § 2243. It

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appears from the application that petitioner may be entitled to
relief.

I therefore direct respondent to file a response to
petitioner’s application within 60 days from the date of this
order. See Rule 4, Fed. R. Governing § 2254 Cases. An answer
shall be accompanied by any and all transcripts or other
documents relevant to the determination of the issues presented
in the application. See Rule 5, Fed. R. Governing § 2254 Cases.
Petitioner’s traverse, if any, shall be filed and served within
30 days of service of an answer. If the response to petitioner’s
application is a motion, petitioner’s opposition or statement of
non-opposition shall be filed and served within 30 days of
service of the motion, and respondent’s reply, if any, shall be
filed within 15 days thereafter. The Clerk of the Court shall
serve a copy of this order together with a copy of petitioner’s
January 8, 2003, amended petition for a writ of habeas corpus
pursuant to 28 U.S.C. § 2254 on Jo GfavesfXAttotney General for
the State of California.

DATED: FEB 18 2003)

‘,

 

‘\Peter RA\Wowinski
Magistrate Judge

/klh
/anth0081.svc am pet

 
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United States District Court
for the
Eastern District of California
February 19, 2003

* * CERTIFICATE OF SERVICE * *

2:02-cv-00081

Anthony

Lewis

 

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on February 19, 2003, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk's office, or, pursuant to prior
authorization by counsel, via facsimile.

Michael Anthony TM/ PAN
J-12891

PVSP-1

Pleasant Valley State Prison

P O Box 8504

Coalinga, CA 93210

Jo Graves

Attorney General's Office
1300 I Street

Suite 125

Sacramento, CA 94244-2550
w/copy of writ for he

Jack L. Wagner, Clerk

BY: Coe

Deputy Clerk

 
